Case 2:11-cr-00126-JAT Document 1527 Filed 09/29/20 Page 1 of 3

Petition12C — Rev. 6/18 FILED [ | LODGED

UNITED STATES DISTRICT COURT
, Sep 29 2020
or
Arizona CLERK U.S. DISTRICT COURT
Petition for Warrant DISTRICT OF ARIZONA

 

Name of Offender: Jaime Avila, Jr. Case No.: CR-11-00126-001-PHX-JAT

Name of Judicial Officer: The Honorable James A. Teilborg
Senior United States District Judge

T-SEALED

Date of Original Sentence: 12/12/2012

Original Offense: Count 1: Conspiracy, in violation of 18 U.S.C. § 371, a Class D Felony
Count 2: Dealing in Firearms Without a License and Aid and Abet, in violation
of 18 U.S.C. §§ 922(a)(1)(A) and 924(a)(1)(D), a Class C Felony

Original Sentence: 57 months Bureau of Prisons (each count concurrent), 36 months supervised
release (each count concurrent)
[08/18/2017: Supervised release revoked, three months BOP, 33 months
supervised release, concurrent Ct.1 and Ct. 2]
[04/04/2019: Supervised release revoked, six months BOP, 27 months supervised
release, concurrent Ct. 1 and Ct. 2]

Type of Supervision: Supervised Release Date Supervision Commenced: 8/30/2019

Date Supervision Expires: 11/29/2021

Assistant U.S. Attorney: W Mark Conover Defense Attorney: Jazmin Jhovana Alagha
619-546-6763 480-744-5823

 

Petitioning the Court to issue a Warrant.
The probation officer alleges Jaime Avila, Jr. has violated the following condition(s) of supervision:

Allegation Nature of Noncompliance

A Mandatory Condition #3 which states, You must refrain from any unlawful use of a
controlled substance. The use or possession of marijuana, even with a physician's
certification, is not permitted. Unless suspended by the Court, you must submit to one
drug test within 15 days of release from imprisonment and at least two periodic drug
tests thereafter, as determined by the court.

 

 

 
Case

Page 2
RE: Jaime Avila, Jr.
Petition to Revoke

2:11-cr-00126-JAT Document 1527 Filed 09/29/20 Page 2 of3

1) Avila, Jr. used a controlled substance, to wit: Methamphetamine. Specifically, on
November 19, 2019, Avila submitted a positive urinalysis test and subsequently admitted
to using methamphetamine. Available evidence includes a signed drug admission and
the probation officer's testimony. Grade C violation. §7B1.1(a)(3)

2) Avila, Jr. used a controlled substance, to wit: Methamphetamine. Specifically, on
February 24, 2020, Avila submitted a positive urinalysis test and subsequently admitted
to using methamphetamine. Available evidence includes a signed drug admission and
the probation officer's testimony. Grade C violation. §7B1.1(a)(3)

Standard Condition #5 which states, You must live at a place approved by the
probation officer. If you plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notify the probation officer at
least 10 days before the change. If notifying the probation officer in advance is not
possible due to unanticipated circumstances, you must notify the probation officer within
72 hours of becoming aware of a change or expected change.

1) Avila, Jr. failed to abide by residence change notification requirements. Specifically,
on or about July 2, 2020, Avila was discharged from the sober living home where he
resided and he failed to notify the probation officer within 72 hours of the residence
change. Grade C violation. §7B1.1(a)(3)

2) Avila, Jr. failed to abide by residence change notification requirements. Specifically,
on or about August 23, 2020, Avila was discharged from the sober living home where he
resided and he failed to notify the probation officer within 72 hours of the residence
change. Grade C violation. §7B1.1(a)@)

 
Case 2:11-cr-00126-JAT Document 1527 Filed 09/29/20 Page 3 of 3

Page 3
RE: Jaime Avila, Jr.
Petition to Revoke

U.S. Probation Officer Recommendation and Justification

Jaime Avila, Jr. has violated the trust of the Court. A warrant is recommended as Jaime Avila, Jr. is a flight risk

based on a prior instance of absconding from supervised release and the multiple unauthorized residence
changes.

I declare under penalty of law that the foregoing is true and correct to the best of my knowledge:

Y-—_—~

9/25/2020
Donald Rogan Date
U.S. Probation Officer
Office: 602-682-4382
Cell: 602-501-0493

iC J ral}! Soe GO 9/25/2020

Donna Salazar Date
Supervisory U.S. Probation Officer

Office: 602-322-7455

Cell: 520-631-5135

 

The Court Orders

No Action

O

The Issuance of a Warrant

&l

 

 

Oo The Issuance of a Summons
cq Other

in September 29, 2020
The Hénorable James A. Teilborg Date

Senior United States District Judge

cc: USPO

 
